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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

CLAUDIA GARCIA,                                )
                                               )     Civil Action No.
     Plaintiff,                                )
v.                                             )
                                               )     JURY TRIAL DEMANDED
CONSOLIDATED CLEANING                          )
CONCEPTS, LLC,                                 )
                                               )
     Defendant.                                )
                                               )
__________________________________
                          COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Claudia Garcia (Plaintiff”) and files this Complaint

against Defendant Consolidated Cleaning Concepts, LLC (“Defendant”), and

shows the following:

                             I.    Nature of Complaint

                                          1.

        Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                          2.

        This action seeks declaratory relief, liquidated and actual damages, along

with attorney’s fees and costs, for Defendant’s failure to pay federally mandated
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overtime wages to Plaintiff in violation of the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”) during Plaintiff’s

employment with Defendant.

                           II.      Jurisdiction and Venue

                                            3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. §216(b), and

28 U.S.C. §1331.

                                            4.

      Defendant conducts business in this jurisdiction and is subject to specific

jurisdiction over the claims asserted herein. In addition, a substantial part of the

acts and omissions that give rise to Plaintiff’s claims occurred in this district.

Accordingly, venue in this Court is proper pursuant to 28 U.S.C. §1367.

                                 III.   Parties and Facts

                                            5.

      Plaintiff is a resident of the State of Georgia.

                                            6.

      From on or about March 2007 to on or about February 12, 2021, Plaintiff

was employed by Defendant as a cleaner for Defendant’s commercial cleaning

business.

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                                        7.

      Plaintiff was an “employee” of Defendant, as that term has been defined by

the FLSA.

                                        8.

      Throughout her employment with Defendant, Plaintiff was non-exempt from

overtime and paid on an hourly basis.

                                        9.

      Throughout her employment, including the applicable three-year statutory

period for her claim, Plaintiff was paid on a hourly basis, without overtime

compensation, calculated at one and one half times her regular rate, for the hours

she worked in excess of 40 in work weeks.

                                        10.

      Defendant is an “employer” as that term has been defined by the FLSA, 29

U.S.C. §203(d).

                                        11.

      Throughout her employment period in the three years preceding the filing of

this action, Plaintiff regularly worked an amount of time that was more than 40

hours in given workweeks and was not paid the overtime wage differential for

hours she worked over 40 in workweeks. Rather than pay Plaintiff overtime

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compensation, Defendant only paid Plaintiff her regular hourly rate for hours she

worked over 40 in workweeks.

                                         12.

        Defendant is a private employer engaged in interstate commerce, and its

gross revenues exceed $500,000 per year and Defendant’s gross revenues exceeded

$500,000 in 2017, 2018, 2019 and 2020.

                                         13.

        Defendant knew or had reason to know that Plaintiff regularly worked in

excess of 40 hours in workweeks without overtime compensation.

                                         14.

        Defendant is governed by and subject to the FLSA, 29 U.S.C. §204 and

§207.

                                         15.

        Defendant failed to pay Plaintiff the overtime wage differential required by

the FLSA, 29 U.S.C. §207 on occasions that Plaintiff worked over forty (40) hours

in a workweek.

                                         16.

        Plaintiff is individually covered under the FLSA by virtue of the job duties

she performed.

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                                          Count I

                    Violations of the Fair Labor Standards Act.

                                            17.

       Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                            18.

       Defendant has violated the FLSA, 29 U.S.C. §207, by failing to pay

overtime wages for time that Plaintiff worked in excess of forty (40) hours in given

workweeks.

                                            19.

       Pursuant to the FLSA, 29 U.S.C. §216, Plaintiff brings this lawsuit to

recover unpaid overtime wages, liquidated damages in an equal amount, attorneys’

fees, and the costs of this litigation.

                                            20.

       Defendant knew or showed reckless disregard for the fact its actions,

policies, and/or omissions violated the FLSA.

                                            21.

       Defendant’s violation of the FLSA was willful, thus entitling Plaintiff to a

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three-year statute of limitations.

                               IV.    Prayer for Relief

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (A)    Grant Plaintiff a trial by jury as to all triable issues of fact;

      (B)    Enter judgment awarding Plaintiff unpaid wages pursuant to the

             FLSA, 29 U.S.C. §207, FLSA § 6, 29 U.S.C. § 206(d), liquidated

             damages as provided by 29 U.S.C. §216, pre-judgment interest on

             unpaid wages pursuant to 29 U.S.C. §216, and court costs, expert

             witness fees, reasonable attorneys’ fees as provided by 29 U.S.C.

             §216, and all other remedies allowed under the FLSA; and,

      (C)    Grant declaratory judgment declaring that Plaintiff’s rights have been

             violated, and that Defendant’s violations of the FLSA were willful;

             and

      (D)    Permit Plaintiff to amend her Complaint to add state law claims if

             necessary;

      (E)    Award Plaintiff such further and additional relief as may be just and

             appropriate.




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Respectfully submitted,

      This 4th day of March, 2021.

                                         BARRETT & FARAHANY

                                         /s/ V. Severin Roberts
                                         V. Severin Roberts
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                                         Attorney for Plaintiff

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